Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 1 of 27 PageID# 16630




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff, Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants,
              Interpleader Counter-Plaintiffs.


     PLAINTIFFS AMAZON.COM, INC. AND AMAZON DATA SERVICES, INC.’S
   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO
                   FILE THIRD AMENDED COMPLAINT
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 2 of 27 PageID# 16631




                                                      TABLE OF CONTENTS

  TABLE OF AUTHORITIES ......................................................................................................... iii

  INTRODUCTION .......................................................................................................................... 1

  BACKGROUND ............................................................................................................................ 3

         I. The Procedural Background ................................................................................................ 3

         II. New Evidence And Factual Developments Support Amazon’s Proposed TAC ................ 5

                A.     New Evidence Demonstrates Atherton Was An Active Participant In The
                       Fraud ....................................................................................................................... 5

                B.     New Evidence Shows Other Entities Were Part Of The Scheme ........................... 8

                C.     New Evidence Further Implicates Straw Man Von Lacey As A Co-
                       conspirator............................................................................................................... 8

                D.     Amazon’s Settlement with IPI Further Informs The Proposed Changes To
                       The Complaint ........................................................................................................ 9

                E.     The Third Amended Complaint Proposes Appropriate Clarifications And
                       Narrowing Of Amazon’s Claims .......................................................................... 10

  ARGUMENT ................................................................................................................................ 11

         I.     Amazon Satisfies Rule 15’s Liberal Standard For Amendment ................................... 12

                A.     Amazon seeks to amend in good faith based on newly produced evidence ......... 12

                B.     Amendment will not unduly prejudice the Defendants ........................................ 14

         II.    There Is Good Cause To Permit Amendment Under The Scheduling Order ............... 19

  CONCLUSION ............................................................................................................................. 21
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 3 of 27 PageID# 16632




                                                      TABLE OF AUTHORITIES

                                                                                                                                Page(s)

  CASES

  Aerotek, Inc. v. Tyonek Native Corp.,
     2006 WL 1303142 (E.D. Va. Apr. 12, 2006) ..........................................................................18

  Akira Techs., Inc. v. Conceptant, Inc.,
     2018 WL 10467491 (E.D. Va. Apr. 12, 2018) ........................................................................12

  Amazon.com, Inc. v. WDC Holdings LLC,
    2021 WL 3878403 (4th Cir. Aug. 31, 2021)..............................................................................3

  Antanuos v. First Nat’l Bank of Ariz.,
     2007 WL 1378542 (E.D. Va. May 1, 2007) ......................................................................12, 13

  Boyle v. United States,
     556 U.S. 938 (2009) .................................................................................................................16

  Builders Mutual Ins. Co. v. Dragas Mgmt. Corp.,
     2011 WL 13229623 (E.D. Va. Mar. 11, 2011) ..................................................................14, 15

  Davis v. Piper Aircraft Corp.,
     615 F.2d 606 (4th Cir. 1980) ...................................................................................................15

  Edwards v. City of Goldsboro,
     178 F.3d 231 (4th Cir. 1999) ...................................................................................................13

  Francisco v. Verizon S. Inc.,
     756 F. Supp. 2d 705 (E.D. Va. 2010) ......................................................................................12

  Galustian v. Peter,
     591 F.3d 724 (4th Cir. 2010) .............................................................................................11, 12

  Global Locating Sys., LLC v. ShadowTrack 247, LLC,
     2020 WL 2114381 (W.D.N.C. May 4, 2020) ..........................................................................13

  In re Grand Jury Subpoena,
      884 F.2d 124 (4th Cir. 1989) ...................................................................................................17

  Hancock Fabrics, Inc., v. Ruthven Assocs., L.P.,
     2007 WL 593573 (E.D. Va. Feb. 20, 2007) .............................................................................19

  Johnson v. Oroweat Foods Co.,
     785 F.2d 503 (4th Cir. 1986) ...................................................................................................13

  King v. Deutsche Bank Nat’l Tr. Co.,
     2010 WL 3745599 (E.D. Va. Sept. 21, 2010)..........................................................................13
                                                                     iii
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 4 of 27 PageID# 16633




  Laber v. Harvey,
     438 F.3d 404 (4th Cir. 2006) ...................................................................................................12

  Lewis v. Jayco, Inc.,
     2019 WL 4126504 (E.D. Va. Aug. 29, 2019) ..........................................................................20

  Nourison Rug Corp. v. Parvizian,
     535 F.3d 295 (4th Cir. 2008) ...................................................................................................20

  Occupy Columbia v. Haley,
     922 F. Supp. 2d 524 (D.S.C. 2013) ..........................................................................................19

  Pulliam v. Clark,
     2012 WL 1835717 (D.S.C. May 21, 2012)..............................................................................13

  RLI Insurance Co. v. Nexus Servs., Inc.,
     2019 WL 1880148 (W.D. Va. Apr. 26, 2019) .........................................................................19

  Scott v. Family Dollar Stores, Inc.,
     733 F.3d 105 (4th Cir. 2013) .............................................................................................18, 20

  Skinner v. First Am. Bank of Va.,
      64 F.3d 659 (4th Cir. 1995) .....................................................................................................18

  Smithfield Foods, Inc. v. United Food & Com. Workers Int’l Union,
     254 F.R.D. 274 (E.D. Va. 2008) ..............................................................................................14

  Spartanburg Reg’l Healthcare Sys. v. Hillenbrand Indus., Inc.,
     2005 WL 8165816 (D.S.C. May 6, 2005)................................................................................12

  Stewart v. Coyne Textile Servs.,
     212 F.R.D. 494 (S.D.W. Va. 2003)..........................................................................................20

  United States v. Ruhbayan,
     201 F. Supp. 2d 682 (E.D. Va. 2002) ......................................................................................17

  W. Va. Hous. Dev. Fund v. Ocwen Tech. Xchange, Inc.,
     200 F.R.D. 564 (S.D.W. Va. 2001)..........................................................................................18

  Wall v. Fruehauf Trailer Servs., Inc.,
     123 F. App’x 572 (4th Cir. 2005) ............................................................................................20

  STATUTES

  18 U.S.C. § 1343 ............................................................................................................................16

  18 U.S.C. § 1346 ............................................................................................................................16

  18 U.S.C. § 1956(a) .......................................................................................................................16


                                                                        iv
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 5 of 27 PageID# 16634




  RULES

  Fed. R. Civ. P. 16(b) ......................................................................................................................20

  TREATISES

  6 Wright & Miller, Fed. Prac. & Proc. § 1487 (3d ed. 2021) ..................................................15, 17




                                                                        v
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 6 of 27 PageID# 16635




          Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Amazon”) hereby move

  under Rule 15(a) for leave to file a Third Amended Complaint.

                                           INTRODUCTION

          Amazon seeks leave to file its Third Amended Complaint (“TAC”). Amazon’s proposed

  amendment: (a) adds new Defendants that new evidence reveals to have played instrumental roles

  in the fraud and kickback scheme at issue in this action and (b) narrows and refines Amazon’s

  allegations to streamline its claims and the ultimate trial of this action.

          Discovery and other developments in the case have brought to light a wealth of new evi-

  dence about the scope of the scheme. For example, Defendant Carleton Nelson (“Nelson”) re-

  cently produced documents revealing that Defendant Casey Kirschner (“Kirschner”) executed a

  signed statement admitting to the kickback scheme and admitting that an individual who had not

  been named as a Defendant, Rodney Atherton (“Atherton”), a Colorado lawyer previously sus-

  pended for ethics violations, was a crucial part of that scheme. Kirschner admitted:

          I accepted money from Northstar associated with deals I worked on with Amazon.
          Carl Nelson and I formed Allcore through Rod Atherton. Northstar paid kickbacks,
          which were paid to the Villanova Trust. The Villanova Trust was formed by my
          brother, Christian Kirschner. Brian Watson of Northstar paid the Villanova Trust
          associated with the Amazon development deals in Northern Virginia. The Villa-
          nova Trust transferred 66% of the funds from Northstar to the 2010 Irrevocable
          Trust, which Rod Atherton set up. Rod Atherton then transferred the funds to me
          and Carl Nelson.

  Ex. 1 at 36.

          Nelson and Kirschner have, in the last two weeks, waived the attorney-client privilege they

  had previously asserted over communications with Atherton and have begun to produce documents

  they had withheld. Nelson and Kirschner dropped their privilege assertions after Amazon advised

  them that it intended to file a motion asserting that communications with Atherton are not protected

  by privilege because of the crime-fraud exception. This very recent discovery, as well as recent
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 7 of 27 PageID# 16636




  discovery from other sources, has confirmed that Atherton (i) was a knowing participant in the

  scheme; (ii) created at least three shell entities not currently named as Defendants that were used

  to funnel and to conceal the kickbacks Nelson and Kirschner received; and (iii) recruited a “straw

  man” Demetrius Von Lacey (“Von Lacey”) to act as a front for certain of the shell entities to

  conceal Nelson’s and Kirschner’s illicit conduct. Recent discovery has also revealed that Renrets

  LLC (“Renrets”), a single member entity nominally controlled by Nelson’s father-in-law, James

  M. Sterner, was also used to funnel and to conceal kickbacks paid to Nelson. Amazon thus seeks

  to add all these newly discovered key participants in the fraud and kickback scheme—Atherton,

  Von Lacey, the three shell entities created by Atherton, and Renrets—as Defendants in its pro-

  posed TAC (“New Defendants”).

         In its proposed TAC, Amazon also intends to streamline and simplify its allegations so that

  this matter is squarely focused on the key claims directly arising from Defendants’ fraud and kick-

  back scheme. Amazon intends to drop its claim under the Robinson-Patman Act, to eliminate its

  allegations under Virginia’s pre-trial attachment statute, and to eliminate its allegations related to

  market prices for the real estate involved in the lease and direct purchase transactions that were a

  part of Defendants’ scheme. Similarly, Amazon does not intend to name Brian Watson (“Watson”)

  and WDC Holdings, LLC (“Northstar,” together with Watson the Northstar Defendants) as De-

  fendants to its breach of contract claim because Amazon has now achieved a settlement with a

  third party, IPI, that mitigates the damages it would have suffered as a result of the lease agree-

  ments Amazon had previously entered with those Defendants and entities they controlled. Ama-

  zon also proposes to refine its allegations identifying which Defendants have direct liability under

  its fraud and tortious interference claims.




                                                    2
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 8 of 27 PageID# 16637




         Amazon has acted with diligence. As a result of the preliminary injunction, related appeal,

  and other proceedings during the first 18 months of this case, general merits discovery involving

  all parties did not begin until January of this year. Hundreds of thousands of pages of documents

  have been produced by the parties and the numerous third-parties who have been subpoenaed since

  that time and a significant number of depositions have been taken. Amazon is seeking leave to

  file its TAC only after it has carefully reviewed and analyzed all of this discovery material to

  ensure it could add the additional Defendants in good faith. The proposed TAC would not unduly

  prejudice the Defendants. Amazon does not propose to add new claims or to change the nature of

  the claims that will remain pending. Instead, Amazon intends to streamline its allegations, which

  will lessen the discovery and related burdens on all parties. Accordingly, and for the good cause

  set forth herein, Amazon respectfully requests leave to file its TAC.

                                          BACKGROUND

  I.     The Procedural Background

         This case arises from a fraud and kickback scheme that Nelson and Kirschner arranged to

  leverage their positions at Amazon into lucrative under-the-table payments from developers aim-

  ing to secure real estate deals with Amazon. See Amazon.com, Inc. v. WDC Holdings LLC, 2021

  WL 3878403, at *1 (4th Cir. Aug. 31, 2021). Both this Court and the Fourth Circuit have con-

  cluded, based on the considerable documentary evidence of the conspiracy that Amazon was able

  to produce prior to discovery, that Amazon is likely to succeed on the merits. Dkts. 99, 318–319.

         Amazon learned of some of this conduct from two informants in the winter of 2019–20 and

  filed its original Complaint (naming only Watson, Northstar, Villanova Trust, White Peaks Capital

  LLC, Nova WPC LLC, and several Northstar entities as Defendants) in April 2020, shortly after

  the FBI conducted a raid on Watson’s home. Dkt. 1 ¶¶ 14–21. Because of the danger that Watson

  would compromise Amazon’s confidential business information and dissipate the proceeds of the


                                                   3
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 9 of 27 PageID# 16638




  fraud, Amazon sought and obtained a temporary restraining order, later converted into a prelimi-

  nary injunction, barring Watson from spoliating evidence, dissipating assets linked to Northstar’s

  transactions with Amazon, or compromising Amazon’s confidential information. Dkts. 16, 99.

  Amazon’s First Amended Complaint was filed in August 2020, while the preliminary injunction

  was on appeal, and included Nelson and Kirschner as named Defendants. Amazon filed its Second

  Amended Complaint, which expanded its allegations, including allegations about an additional

  purchase transaction (the Blueridge sale), SAC ¶¶ 7, 314–326, and consolidated Amazon’s under-

  standing of the racketeering enterprise, id. ¶¶ 358–433, in mid-September 2020, also while the

  preliminary injunction was pending on appeal.1

          This Court denied the Defendants’ motions to dismiss or transfer the action on February 1,

  2021. See Dkts. 164, 165, 174, 175, 176, 179, 181, 256. The Defendants then Answered the

  Second Amended Complaint in mid-February 2021, Dkts. 270, 273, 274, 275, which the Northstar

  Defendants amended in April 2021, Dkt. 277, 280, but the Court did not set a discovery schedule

  until December 2021.2

          General discovery involving all parties began in early 2022 and is ongoing. The Schedul-

  ing Order does not set a fixed deadline for amendments to the pleadings but instructs the parties

  that “[a]ny motion to amend the pleadings or to join a party must be made as soon as possible after

  counsel or the party becomes aware of the grounds for the motion.” Dkt. 455 ¶ 12(b).


   1
       Due to a clerical error, Amazon included incorrect contract language in the First Amended
       Complaint. It corrected that error in the Second Amended Complaint. See Dkts. 134, 138,
       150.
   2
       The Court ordered limited injunction-related discovery while the appeal was pending. The
       process was contentious, and the Court ultimately concluded that Watson and Northstar “will-
       fully failed to comply with [the] Court’s prior discovery orders . . . and their discovery obliga-
       tions under Federal Rule of Civil Procedure 37.” Dkt. 330 at 1. The Court held the Northstar
       Defendants in contempt of the Court’s Injunction and imposed sanctions, appointing a Re-
       ceiver to administer Northstar and Watson’s personal assets. Dkts. 413, 433.


                                                     4
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 10 of 27 PageID# 16639




   II.    New Evidence And Factual Developments Support Amazon’s Proposed TAC

          Documents recently produced in discovery, including after the waiver of certain privilege

   assertions by Nelson, Kirschner, and Kirschner’s brother, Christian Kirschner, have improved Am-

   azon’s understanding of the scope of the Defendants’ scheme and the role played by various of its

   participants. In addition, Amazon’s recent settlement with IPI has altered the landscape in im-

   portant ways.

          Recent changes in the Defendants’ defense strategies have also shifted the landscape. In

   response to Amazon’s discovery requests, Nelson and Kirschner initially asserted that their com-

   munications with Atherton were privileged and protected. Ex. 16. Atherton, in turn, moved to

   quash Amazon’s third party subpoena against him, asserting attorney client and work product priv-

   ileges. Amazon.com, Inc. v. WDC Holdings, No. 22-mc-8 (D. Colo. 2022). After further discus-

   sions with Amazon, in which Amazon indicated that it would move to overcome these privilege

   assertions under the crime-fraud exception, both Nelson and Kirschner waived their privilege as-

   sertions and agreed to produce all responsive communications with Atherton. Exs. 2-3. Sepa-

   rately, and in response to Amazon’s inquiries following Atherton’s motion to quash, Christian

   Kirschner confirmed in writing during the past month that he too had waived privilege over his

   communications with Atherton. Ex. 4. The documents produced following these privilege waivers

   have also provided important new information about Defendants’ fraudulent scheme.

          A. New Evidence Demonstrates Atherton Was An Active Participant In The Fraud

          When it filed the SAC, Amazon was aware that Atherton had created a variety of shell

   entities that the conspirators used to further the scheme. But discovery has greatly expanded Am-

   azon’s understanding of Atherton’s role and has demonstrated that he was a knowing and active

   co-conspirator. Among the documents produced following the Defendants’ recent privilege

   waiver is the                                                           . That


                                                  5
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 11 of 27 PageID# 16640




                                                                                Ex. 5 at 4.




                                                   Id. at 1–2. According to another newly produced

   document, Kirschner made a signed statement that he and Nelson set up both AllCore and the 2010

   Irrevocable Trust “through Rod Atherton,” that “Rod . . . transferred the [kickback] funds to me

   and Carl Nelson,” and that “Rod . . . knew that the money paid to the 2010 Irrevocable Trust

   [through Villanova Trust] was from Northstar, and he knew that Carl Nelson and I worked for

   Amazon.” Ex. 1 at 36. Documents produced in discovery and introduced at Christian Kirschner’s

   recent deposition confirm these transfers, showing that Christian Kirschner directed that Villanova

   Trust transfer millions of dollars to the other New Defendants that were organized and managed

   by Atherton. Exs. 6-7. These new documents add to evidence previously known to Amazon in

   which Nelson stated that “Rod’s job is to make us invisible” and indicated that Atherton became

   important after Nelson realized that he was not “comfortable” about the structure of “[t]he first

   couple distributions we took” which came “through Casey’s brother.” Dkt. 212-13 at 8.

          In another recently produced document, Atherton appears to have exchanged text messages

   with Christian Kirschner in which Atherton explained he “want[ed] to help with the stuff you and

   Casey are working on and my mind is on overdrive on it.” Ex. 8 at 1. Atherton wrote to Christian

   Kirschner that he was “on board” with the scheme and that they would “have to pay fees to AllCore

   (Carl and Casey).” Id. at 2.




                                                   6
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 12 of 27 PageID# 16641




           Other messages show that Christian Kirschner was in regular contact with Atherton

   throughout the course of the kickback scheme. Ex. 8. Casey Kirschner and his brother Christian

   regularly discussed Atherton and his role as a central part of their scheme. In messages exchanged

   in June 2018, Christian told Casey that Watson would be wiring them $1.2 million, prompting

   Casey to respond, “Did you talk to Rod [Atherton].” Ex. 9 at 2. Christian responded that he had

   spoken with Atherton and “ha[d] a solution.” Id. Two months later, Christian and Casey messaged

   one another about a further $1.2 million they were receiving from Northstar, about which Casey

   asked Christian to “work with Rod [Atherton] to have our shares wired to his Trust” because Casey

   had “just talked to [Atherton and] he will disperse to us from there.” Id. Two months later, the

   brothers again exchanged messages about a further $1.3 million wired to Atherton and passed on

   in turn to them. Id. at 3.

           Throughout the process, Atherton played an active role in the scheme, both advising and

   facilitating the acts taken by the other conspirators.         One document produced following

   Kirschner’s privilege waiver shows that



                                                                        . Ex. 10 at 3. And in November

   2019, when Christian Kirschner became concerned by Northstar’s failure to transfer some of the

   expected funds, Atherton revised Christian Kirschner’s messages to Watson to strengthen

   Kirschner’s bargaining position and further the kickback scheme. Ex. 8 at 4. In that same ex-

   change, Atherton strategized with Christian Kirschner on ways to expand their business, drawing

   in new investors to increase their ability to expand their opportunities. Id. at 4–5. In return for his

   participation in the scheme,                                            . See, e.g., Ex. 14 (showing

                                                         ).




                                                     7
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 13 of 27 PageID# 16642




          B. New Evidence Shows Other Entities Were Part Of The Scheme

          Ongoing third-party discovery has also shaped Amazon’s understanding of the shell enti-

   ties that Nelson, Kirschner, Christian Kirschner, and Atherton used to disguise the fraud. For

   example, Amazon recently received a non-party production containing bank statements of Nelson

   and Kirschner. Those bank statements reflect the flow of proceeds of the fraudulent scheme from

   the 2010 Irrevocable Trust, CTBSRM, or Sigma Regenerative Solutions (all shell entities created

   by Atherton) into accounts held by Kirschner, Nelson, or Nelson’s entity Cheshire Ventures, also

   created by Atherton. Ex. 11. Bank records also show that money from at least one of these shell

   entities was routed through another single-member LLC, newly added Defendant Renrets LLC.

   Ex. 12 at 3. Nelson’s father-in-law is listed as the sole signatory for the relevant Renrets bank

   account. Ex. 13.

          Documents recently produced following Kirschner’s privilege waiver also confirm the role

   played by these Atherton entities. One such document shows



                                                                       . Ex. 14. Taken together, these

   newly produced documents show that the Defendants used these entities in much the same way

   they used Cheshire Ventures, Allcore Development, and Finbrit Holdings (also Atherton-created

   entities)—that is, as pass throughs in an elaborate effort to launder, shelter, or disguise the flow of

   money from the Amazon deals into the pockets of the co-conspirators.

          C. New Evidence Further Implicates Straw Man Von Lacey As A Co-conspirator

          In addition to counseling Nelson, Kirschner, and Christian Kirschner in relation to the kick-

   back scheme, Atherton also arranged for them to work with Von Lacey, a straw man who posed

   as the front for some of the Atherton-created entities. Based on the discovery obtained to date, it




                                                     8
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 14 of 27 PageID# 16643




   appears that the co-conspirators went to considerable lengths to shield Von Lacey and to hide their

   actions behind him. For example, a

                                                                . Ex. 1 at 29. The documents Amazon

   has obtained show that, once Von Lacey was brought into the scheme, he acted as the President of

   AllCore and served as a front for money transfers between Nelson, Kirschner, and their co-con-

   spirators. In a message exchange proposing Von Lacey’s participation in the scheme, Atherton

   introduced Von Lacey to Christian Kirschner as “a quality guy.” Ex. 8 at 1. Nelson moved forward

   with this arrangement, writing that they would “pay Von Lacey to be a straw guy,” Dkt. 212-13 at

   30, and that

              Ex. 1 at 28.

          After joining the conspiracy, Von Lacey’s role appears largely to have been as a paper face

   for the entities, but there is also evidence that he may have taken a more direct part. One recently

   produced             provided after Kirschner waived privilege over his conversations with Ather-

   ton,



                                           . Ex. 15. Another

                                                        . Ex. 14. This evidence, and other documents

   and testimony, are sufficient to demonstrate that Von Lacey was a participant in the scheme—

   whether as a straw man or as a co-planner—and justifies his inclusion as a Defendant.

          D. Amazon’s Settlement with IPI Further Informs The Proposed Changes To The
             Complaint

          Although Watson and Northstar were able to rely on Nelson and Kirschner’s illicit support

   to secure lease deals with Amazon, Northstar lacked the capital to plausibly take on the projects.

   In order to secure that capital (and the legitimacy that comes from working with an established



                                                    9
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 15 of 27 PageID# 16644




   entity), Watson brought in IPI as an investment partner in the joint ventures that secured the lease

   deals with Amazon. Watson and Northstar hid the evidence of the fraud from IPI. When Amazon

   and IPI discovered the fraud involved in these transactions, they acted to remove Watson and

   Northstar from control of the landlord entities. See Dkt. 563-4 at 2. IPI took on sole management

   of those entities. Id. Amazon and IPI entered into long-running negotiations to determine how to

   amend the leases to remove the impact of the fraud. At the close of 2021, after more than a year

   of negotiations, Amazon and IPI

                                                                            . Id. at 2–5.



                                                                                         . Id. at 3–4. The



                                                                 . Id. at 4. In total,

                                                                                    . As a result of this

   renegotiation, Amazon has been able to mitigate its damages, in part, and proposes to amend its

   claims, including by dropping its breach of contract claim against Northstar and Watson, to reflect

   these developments.

          E. The Third Amended Complaint Proposes Appropriate Clarifications And Nar-
             rowing Of Amazon’s Claims

          Amazon proposes changes in the Third Amended Complaint that streamline its claims,

   provide the Defendants (both the existing Defendants and those newly added) with more infor-

   mation and more specific detail about Amazon’s theory of the case, and identify with greater spec-

   ificity than was previously possible the particular claims asserted against each Defendant. The

   TAC makes a number of changes in its general allegations to better reflect Amazon’s understand-

   ing of the facts. It also significantly streamlines the claims, both by dropping some claims entirely



                                                    10
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 16 of 27 PageID# 16645




   and also by more specifically identifying the Defendants the remaining claims are asserted against.

   The proposed TAC, for example:

                  Adds Atherton, Von Lacey, 2010 Irrevocable Trust, Sigma Regenerative Services,
                   CTBSRM, and Renrets LLC as Defendants;

                  Drops claims for pre-trial seizure of assets under Virginia’s pre-trial attachment
                   statute;

                  Drops anti-trust claim for breach of the Robinson-Patman Act;

                  Asserts Fraud against Nelson, Kirschner, Watson, Northstar, and the White Peaks
                   Defendants (previously asserted against all Defendants);

                  Asserts Tortious Interference against Watson, Northstar, and the White Peaks De-
                   fendants (previously asserted against all Defendants);

                  Asserts breach of contract against Nelson and Kirschner (previously asserted
                   against all Defendants);

                  Removes separate claim for declaration of alter ego/veil piercing3;

                  Removes separate claim for agency/respondeat superior;4 and

                  Removes separate claim for preliminary injunctive relief (because such relief has
                   already been granted).5

   The proposed TAC now captures Amazon’s understanding of the fraudulent scheme as a whole.

                                              ARGUMENT

           Rule 15 permits a party to amend its pleadings with “the court’s leave” and directs that

   “[t]he court should freely give leave.” Fed. R. Civ. P. 15.6 “It is this Circuit’s policy to liberally



    3
        Amazon continues to argue alter ego as a theory of liability in other claims.
    4
        Amazon reserves the right to assert agency/respondeat superior as a theory of liability.
    5
        Amazon continues to assert its entitlement to preliminary and permanent injunctive relief, in-
        cluding in its prayer for relief. The TAC alleges that the preliminary injunction entered by the
        Court should remain in effect.
    6
        Rule 15 continues to govern motions to amend even when the Amendment would add new
        parties to the action. Galustian v. Peter, 591 F.3d 724, 730 (4th Cir. 2010) (rejecting argument
        that Rule 21 and not Rule 15 governs amendments that add parties.).


                                                    11
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 17 of 27 PageID# 16646




   allow amendment in keeping with the spirit of [Rule] 15(a).” Galustian, 591 F.3d at 729. “A Rule

   15(a)(2) motion may only be denied where the Court finds one of the following circumstances

   present: 1) amendment would be prejudicial to the opposing party, 2) there has been bad faith on

   the part of the moving party, or 3) amendment would be futile.” Akira Techs., Inc. v. Conceptant,

   Inc., 2018 WL 10467491, at *2 (E.D. Va. Apr. 12, 2018).

      I. Amazon Satisfies Rule 15’s Liberal Standard For Amendment

          A. Amazon seeks to amend in good faith based on newly produced evidence

          Rule 15 imposes a standard that favors amendment and places only minimal barriers before

   a party seeking to amend. Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006) (holding district

   court abused its discretion by denying post-judgment motion to amend the pleadings). “This lib-

   eral rule gives effect to the federal policy in favor of resolving cases on their merits instead of

   disposing of them on technicalities.” Id. Amendment is particularly appropriate when a party

   uncovers evidence supporting new allegations during discovery. “[D]iscretionary amendments

   interposed during or promptly after discovery proceedings which have revealed the existence of

   facts not previously known have been allowed over objections to their timeliness under Rule 15(a)

   . . . , the courts reasoning that litigants should not be required to forward claims or defenses on the

   bases of mere suspicion.” Antanuos v. First Nat’l Bank of Ariz., 2007 WL 1378542, at *4 (E.D.

   Va. May 1, 2007) (quotation marks omitted); see also Spartanburg Reg’l Healthcare Sys. v. Hil-

   lenbrand Indus., Inc., 2005 WL 8165816, at *3, *7 (D.S.C. May 6, 2005) (granting leave to amend

   and modify scheduling order based on newly discovered evidence uncovered in the course of dis-

   covery); Francisco v. Verizon S. Inc., 756 F. Supp. 2d 705, 717 (E.D. Va. 2010) (allowing amend-

   ment of answer to “conform [the] pleading to facts which were revealed during discovery”). Here,

   when Amazon filed the operative complaint, it had limited knowledge of the role Atherton, the

   New Defendants that he created, and Von Lacey played in the kickback scheme. Discovery has


                                                     12
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 18 of 27 PageID# 16647




   since produced a wealth of admissible evidence that the New Defendants, including Atherton,

   played an active part in the conspiracy and share liability with the existing Defendants.7

           Amazon has acted with diligence to analyze the hundreds of thousands of pages produced

   by the parties in discovery and to seek to amend promptly based on the evidence discovered as a

   result of that assessment. In any event, courts in the Fourth Circuit have repeatedly held that

   “[d]elay alone is an insufficient reason to deny leave to amend,” Edwards v. City of Goldsboro,

   178 F.3d 231, 242 (4th Cir. 1999), and that amendment should be permitted “[e]ven if the Defend-

   ant is correct that the Plaintiff could have filed its Motion to Amend sooner” provided the Defend-

   ant does not show that the Plaintiff “acted in bad faith,” Global Locating Sys., LLC v. ShadowTrack

   247, LLC, 2020 WL 2114381, at *2 n.3 (W.D.N.C. May 4, 2020); see also King v. Deutsche Bank

   Nat’l Tr. Co., 2010 WL 3745599, at *7 (E.D. Va. Sept. 21, 2010) (allowing amendment three days

   after close of discovery and less than two months prior to scheduled start of trial).

           In light of Amazon’s newly discovered evidence, there is ample basis to permit amendment

   and to allow Amazon to add the New Defendants as parties. See Pulliam v. Clark, 2012 WL

   1835717, at *12 (D.S.C. May 21, 2012) (permitting amendment to include new claims against new

   parties). Amazon’s allegations against Atherton are substantial and are supported by considerable

   documents, produced in discovery, showing that Atherton was a part of the existing Defendants’

   racketeering enterprise and unlawful conspiracy. These allegations are more than sufficient to

   justify their inclusion. See Johnson v. Oroweat Foods Co., 785 F.2d 503, 510 (4th Cir. 1986).



    7
        The direct evidence implicating the New Defendants as active members of the scheme justifies
        adding them as an additional Defendant and distinguishes this case from Antanuos where the
        Court permitted amendment to include new factual allegations in the Complaint but denied
        leave to add new defendants against whom the plaintiff could make assertions only based on
        information and belief and who were, at most, agents of the existing defendants rather than co-
        conspirators. 2007 WL 1378542, at *6.


                                                    13
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 19 of 27 PageID# 16648




   Amazon alleges that Atherton formed multiple shell entities for the existing Defendants for the

   purpose of concealing their kickback scheme. See, e.g., TAC ¶ 198. Atherton was aware of his

   clients’ illegal conduct and knowingly enabled them to conceal the kickbacks in exchange for

   personal profit. See, e.g., id. ¶¶ 201, 289–294, 309, 318. Atherton participated in multiple rack-

   eteering predicates and was an integral part of the Defendants’ racketeering enterprise. See id. ¶¶

   376–451. These allegations, like the similar allegations against the existing Defendants, are more

   than adequate to plead claims against Atherton. See Dkt. 256 at 1.

          Similarly, evidence newly provided from the existing Defendants and from various third

   parties shows that additional Atherton-created entities (the 2010 Irrevocable Trust, CTBSRM and

   Sigma Regenerative Solutions) and Renrets LLC were used to conceal transfers of money from

   the fraud to the existing Defendants. This evidence also shows that Von Lacey was brought into

   the scheme by Atherton to act as a front for the scheme (indeed, one document lists Von Lacey’s

   personal address as Atherton’s law office). Taken together, this additional evidence supports

   amendment to include all of the New Defendants.

          B. Amendment will not unduly prejudice the Defendants

          Leave to amend under Rule 15 should only be denied if the amendment would be futile or

   would “be prejudicial to the opposing party.” Builders Mutual Ins. Co. v. Dragas Mgmt. Corp.,

   2011 WL 13229623, at *2 (E.D. Va. Mar. 11, 2011) (quotation marks omitted). While it is true

   that “‘almost every amendment . . . results in some prejudice,’ the relevant test is whether the

   opposing party would suffer from ‘undue prejudice.’” Id. (quoting Smithfield Foods, Inc. v. United

   Food & Com. Workers Int’l Union, 254 F.R.D. 274, 277 (E.D. Va. 2008)). Undue prejudice exists

   if “the amendment would require the parties to ‘engage in significant new preparation’ or would

   result in ‘added expense and the burden of a more complicated and lengthy trial.’” Id. (quoting

   Smithfield, 254 F.R.D. at 277). “Delay alone . . . without any specifically resulting prejudice, or


                                                   14
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 20 of 27 PageID# 16649




   any obvious design by dilatoriness to harass the opponent, should not suffice as reason for denial”

   of leave to amend. Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th Cir. 1980). There is no

   undue prejudice to the existing parties in this action. The nature and type of Amazon’s claims

   against the existing Defendants has not changed—the core allegations and the legal claims remain

   as they were under the prior Complaint and during the period of discovery that has already been

   completed. In fact, amendment would implicate none of the traditional sources of prejudice under

   Rule 15: the proposed amendment does not “substantially change[] the theory on which the case

   has been proceeding” nor is it “proposed late enough so that the opponent would be required to

   engage in significant new preparation.” 6 Wright & Miller, Fed. Prac. & Proc. § 1487 (3d ed.

   2021). The proposed amendment would not “result in [the] defendant being put to added expense

   and the burden of a more complicated and lengthy trial” nor does the amendment introduce issues

   “remote from the other issues in the case” that “might confuse or mislead the jury.” Id. To the

   contrary, the new allegations and parties merely present a more complete description of the con-

   spiracy already alleged in the operative complaint. Far from prejudicing or burdening the Defend-

   ants, the proposed amendment may well reduce the burdens they face. Amazon’s amended plead-

   ing drops Count XI, which asserted anti-trust claims based on alleged violations of the Robinson-

   Patman Act. SAC ¶¶ 569–579. Permitting amendment will relieve the Defendants of the consid-

   erable burden and expense of litigating this anti-trust claim, with its associated costs in expert and

   other evidentiary work.

          Nor does Amazon’s proposed amendment require “significant new preparation” or impose

   “added expense and the burden of a more complicated and lengthy trial” on the existing Defend-

   ants. Builders Mutual, 2011 WL 13229623, at *3 (quotation marks omitted). The existing De-

   fendants would need to confront the same evidence about the New Defendants’ roles in facilitating




                                                    15
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 21 of 27 PageID# 16650




   their conspiracy whether they are added as parties or not—that evidence is relevant to demonstrat-

   ing that the existing Defendants acted as an “enterprise” for purposes of the Racketeer Influenced

   and Corrupt Organizations Act (RICO) claim. SAC Count I. The enterprise in this conspiracy

   includes the New Defendants, including Atherton, and their participation assists in demonstrating

   that the existing Defendants formed an enterprise with the necessary “three structural features: a

   purpose, relationships among those associated with the enterprise, and longevity sufficient to per-

   mit these associates to pursue the enterprise’s purpose.” Boyle v. United States, 556 U.S. 938, 946

   (2009). So too, Atherton’s role is relevant to showing that the existing Defendants acted with the

   scienter necessary for Amazon’s fraud and money laundering predicates. See SAC ¶¶ 371–378

   (wire fraud); 379–391 (honest services fraud); 392–400 (money laundering). The New Defend-

   ants’ facilitation and support of the conspiracy will already be relevant to show Nelson and

   Kirschner “obtain[ed] money [and] property . . . by means of false or fraudulent pretenses, repre-

   sentations, or promises” and by transmitting “writings, signs, signals, pictures, or sounds for the

   purpose of executing such scheme or artifice.” 18 U.S.C. § 1343; see also 18 U.S.C. § 1346; 18

   U.S.C. § 1956(a)(1) (prohibiting financial transactions “with the intent to promote the carrying on

   of specific unlawful activity” or “knowing that the transaction is designed in whole or in part . . .

   to conceal or disguise the nature, the location, the source, the ownership, or the control of the

   proceeds of specified unlawful activity”).

          Even the question of whether Atherton acted as a co-conspirator rather than a legal adviser

   is already present in this case. Atherton has asserted attorney-client and work product privilege

   in response to an Amazon subpoena. While some of Atherton’s clients have waived privilege, and

   now indicate that they will assert an advice-of-counsel defense, other clients (including shell enti-

   ties that are existing Defendants) have yet to waive. Amazon asserts that all of these privileges




                                                    16
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 22 of 27 PageID# 16651




   are vitiated under the crime-fraud exception by Atherton’s active participation in the scheme. Un-

   der that rule, communications between an attorney and his purported client are not privileged “if

   made for the purpose of committing or furthering a crime or fraud.” In re Grand Jury Subpoena,

   884 F.2d 124, 127 (4th Cir. 1989). In order for the crime-fraud exception to apply, Amazon must

   make a prima facie showing “(1) that the defendant was engaged in or planning a criminal or

   fraudulent scheme and used his counsel to further the scheme, and (2) that the privileged infor-

   mation bears a close relationship to the criminal or fraudulent scheme.” United States v. Ruhbayan,

   201 F. Supp. 2d 682, 685–86 (E.D. Va. 2002). This is essentially the same showing, on the same

   evidence, that supports Amazon’s allegations that Atherton acted as a co-conspirator alongside the

   existing Defendants. And these questions are already going to be litigated in this action and in

   related actions. See, e.g., Amazon.com, Inc. v. WDC Holdings, Inc., No. 22-mc-8 (D. Colo. 2022).

          The possibility of prejudice here is also reduced because neither the existing Defendants

   nor the New Defendants can claim to be “surprise[d]” by the new allegations—the Defendants

   “should have recognized that the new matter included in the amendment would be at issue” both

   because the operative complaint already discussed Atherton’s involvement in the scheme (to the

   extent Amazon was aware of it at that early stage in the litigation) and because Amazon’s new

   allegations are, in large part, based on documents newly obtained from the Defendants. Wright &

   Miller, supra, § 1487. Both the existing Defendants and Atherton have already been aware that

   Atherton’s role in the scheme could be a subject of inquiry at trial. The operative complaint makes

   repeated reference to Atherton’s involvement (as Amazon knew Atherton had advised the existing

   Defendants but was unsure of his liability in the scheme), see SAC ¶¶ 6, 37–44, 94, 98–106, and

   Atherton has sought to avoid producing communications among them not on the basis that these

   documents are irrelevant but on the basis that they are privileged. See Amazon.com, Inc. v. WDC




                                                   17
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 23 of 27 PageID# 16652




   Holdings, LLC, No. 22-mc-8 (D. Colo. 2022). In these circumstances, amending to include new

   allegations, or even new claims related to the allegations already in the operative complaint, is not

   prejudicial to the Defendants. See W. Va. Hous. Dev. Fund v. Ocwen Tech. Xchange, Inc., 200

   F.R.D. 564, 567–68 (S.D.W. Va. 2001) (amendment not prejudicial even when it adds new claims

   because the new claim “adds only the knowledge of Defendants of these insufficiencies [in con-

   tracted services] and their intent to conceal that putative knowledge from the [Plaintiff]”).

          Permitting amendment will have minimal impact on the discovery that has already taken

   place and that continues to take place. Indeed, that discovery is still underway simply establishes

   that amendment is not prejudicial to the Defendants. Scott v. Family Dollar Stores, Inc., 733 F.3d

   105, 119 (4th Cir. 2013) (“Because the parties were still in discovery, and many steps removed

   from trial, the purported undue prejudice to Family Dollar is overstated.”); see also Skinner v. First

   Am. Bank of Va., 64 F.3d 659 at *3 (Table) (4th Cir. 1995) (“extensive discovery is not prejudicial

   when the results of discovery may be used in a subsequent action”). Nor is it prejudicial to permit

   amendment when “discovery is coming to a close” simply because permitting amendment would

   introduce a new defendant and may “extend discovery.” Aerotek, Inc. v. Tyonek Native Corp.,

   2006 WL 1303142, at *3 (E.D. Va. Apr. 12, 2006) (allowing amendment to add party based on

   newly discovered evidence and deposition testimony). Because there is every indication that the

   New Defendants, including Atherton, and the existing Defendants “worked in concert with each

   other,” “[a]llowing this matter to progress as one case rather than requiring Plaintiff[s] to file a

   separate case” against Atherton “is especially warranted” and, far from prejudicing the parities,

   will serve “the interests of judicial economy and justice.” Id.

          Finally, despite any arguments the Northstar Defendants may make to the contrary, the

   preliminary injunction and receivership neither alter the rule favoring amendment nor result in




                                                    18
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 24 of 27 PageID# 16653




   undue prejudice on the existing Defendants. Courts routinely grant motions to amend after enter-

   ing preliminary injunctions. See, e.g., Occupy Columbia v. Haley, 922 F. Supp. 2d 524, 529–30

   (D.S.C. 2013); Hancock Fabrics, Inc., v. Ruthven Assocs., L.P., 2007 WL 593573, at *2, 9 (E.D.

   Va. Feb. 20, 2007). This is true even when the injunction imposes financial conditions on existing

   parties. In one case, a district court in this circuit permitted amendment despite a defendant’s

   argument that the amendment would extend the amount of time that he would have to comply with

   an injunction that required the defendant to make monthly payments to the plaintiff. RLI Insurance

   Co. v. Nexus Servs., Inc., 2019 WL 1880148, at *5 (W.D. Va. Apr. 26, 2019). Moreover, the

   amendments Amazon proposes would streamline the litigation and allow for a quicker and more

   comprehensive resolution of the claims. Allowing the amendment may ultimately lessen the

   amount of time the Northstar Defendants are subject to the preliminary injunction and receiver-

   ship. And finally, the Northstar Defendants have the power to mitigate any prejudice they may

   assert. They could end the receivership by complying with this Court’s order granting the prelim-

   inary injunction, or the Northstar Defendants could work with Amazon to find a suitable alternative

   to the current terms of that injunction. Amazon has always been open to modifying the injunction

   if the Northstar Defendants are willing to post some form of security; the Northstar Defendants

   have yet to take Plaintiffs up on this offer. As a result, any argument the Northstar Defendants

   may make with respect to the preliminary injunction and receivership should not stand in the way

   of an amendment.

      II. There Is Good Cause To Permit Amendment Under The Scheduling Order

          The Scheduling Order in this case does not set a deadline for the parties to seek amendment,

   requiring only that the party seeking amendment do so “as soon as possible after counsel or the

   party becomes aware of the grounds for the motion.” Dkt. 455 ¶ 12(b). Amazon has acted

   promptly, seeking to amend its pleading as soon as it became aware, based on documents produced


                                                   19
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 25 of 27 PageID# 16654




   in discovery and on late-breaking privilege waivers, that Atherton, other shell entities, and Von

   Lacey acted as a co-conspirator in the scheme. That impression has been heightened by the De-

   fendants’ decision to assert an advice-of-counsel defense, which underscores the importance of

   Atherton’s participation in the scheme. And the evidence that Amazon has prepared and reviewed

   in anticipation of asserting the crime-fraud exception further demonstrates that Atherton’s partic-

   ipation was far from benign.

          Nevertheless, to the extent amendment may necessitate alteration of the scheduling order,

   there is good cause to amend and modify the case schedule. See Fed. R. Civ. P. 16(b)(4); Nourison

   Rug Corp. v. Parvizian, 535 F.3d 295, 298 (4th Cir. 2008) (modification of scheduling order pur-

   suant to amendment requires showing of good cause). “The primary consideration of the Rule

   16(b) ‘good cause’ standard is the diligence of the movant.” Lewis v. Jayco, Inc., 2019 WL

   4126504, at *3 (E.D. Va. Aug. 29, 2019) (quotation marks omitted). Good cause to modify the

   schedule to permit amendment exists when the evidence produced in discovery provides the basis

   for the amendment. See id. at *3 n.5; see also Stewart v. Coyne Textile Servs., 212 F.R.D. 494,

   497 (S.D.W. Va. 2003). That good cause exists even when the movant could have obtained the

   information by other means prior to obtaining it in discovery. Stewart, 212 F.R.D. at 497. That is

   why the Fourth Circuit has not only permitted amendment during discovery, but has held that the

   denial of amendment while discovery is ongoing can be an abuse of discretion. See Scott, 733

   F.3d at 119. Indeed, this Circuit has even held that good cause exists when a party seeks to amend

   based on newly obtained information after discovery has closed and the amendment would require

   re-opening discovery. Wall v. Fruehauf Trailer Servs., Inc., 123 F. App’x 572, 576–77 (4th Cir.

   2005) (good cause to modify and amend because denial of amendment “would have forced [Plain-

   tiff] to litigate an entirely new and separate action based on the same set of facts”).




                                                    20
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 26 of 27 PageID# 16655




          Amazon has acted diligently in seeking to amend. The documents and waivers that are the

   basis for Amazon’s allegations were produced by the existing Defendants as part of the ongoing

   discovery.

                                          CONCLUSION
          The Court should grant leave to amend and file the proposed Third Amended Complaint

   attached to this motion.

    Dated: April 1, 2022                          Respectfully submitted,

                                                  /s/ Michael R. Dziuban
    Veronica S. Moyé (pro hac vice)               Elizabeth P. Papez (pro hac vice)
    GIBSON, DUNN & CRUTCHER LLP                   Patrick F. Stokes (pro hac vice)
    2001 Ross Avenue, Suite 2100                  Claudia M. Barrett (pro hac vice)
    Dallas, TX 75201                              David W. Casazza (pro hac vice)
    Telephone: (214) 698-3100                     Michael R. Dziuban (Va. State Bar No. 89136)
    Facsimile: (214) 571-2900                     GIBSON, DUNN & CRUTCHER LLP
    vmoye@gibsondunn.com                          1050 Connecticut Avenue, N.W.
                                                  Washington, D.C. 20036-5306
                                                  Telephone: (202) 955-8500
                                                  Facsimile: (202) 467-0539
                                                  epapez@gibsondunn.com
                                                  pstokes@gibsondunn.com
                                                  cbarrett@gibsondunn.com
                                                  dcasazza@gibsondunn.com
                                                  mdziuban@gibsondunn.com

                Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.




                                                 21
Case 1:20-cv-00484-RDA-TCB Document 616 Filed 04/02/22 Page 27 of 27 PageID# 16656




                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 2, 2022, I electronically filed the foregoing with the Clerk of

   Court using the CM/ECF system. I will then send the document and a notification of such filing

   (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



                                                      Casey Kirschner
                                                      635 N. Alvarado Lane
                                                      Plymouth, MN 55447
                                                      By email: casey.kirschner@gmail.com

                                                 s/ Michael R. Dziuban
                                                 Michael R. Dziuban
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 1050 Connecticut Avenue, N.W.
                                                 Washington, D.C. 20036-5306
                                                 Telephone: (202) 955-8500
                                                 Facsimile: (202) 467-0539
                                                 mdziuban@gibsondunn.com

                                                 Counsel for Plaintiffs Amazon.com, Inc. and Amazon
                                                 Data Services, Inc.




                                                   22
